68 F.3d 482w
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America ex rel., Plaintiff,andJerome F. Butler, Plaintiff-Appellant,v.HUGHES HELICOPTERS, INC., Defendant,andMcDonnell Douglas Helicopter Company, Defendant-Appellee.
    No. 93-56407.
    United States Court of Appeals, Ninth Circuit.
    Argued and Submitted March 8, 1995.Decided Oct. 20, 1995.
    NOTE: THE COURT HAS WITHDRAWN THIS OPINION
    